Case 6:16-cv-01071-CEM-DCI Document 19 Filed 10/31/16 Page 1 of 1 PageID 63



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


LC TECHNOLOGY INTERNATIONAL,
INC.,

                       Plaintiff,

v.                                                             Case No: 6:16-cv-1071-Orl-41DCI

DOORSTEP DELIVERY.NET, INC.,

                       Defendant.
                                              /

                                              ORDER

       THIS CAUSE is before the Court on the Stipulation of Dismissal (Doc. 18), which

indicates that the parties agree to dismissal of this case without prejudice. Pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii), the Clerk of Court is directed to close this case.

       DONE and ORDERED in Orlando, Florida on October 31, 2016.




Copies furnished to:

Counsel of Record




                                             Page 1 of 1
